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 Genlux Magazine, Beverly Hills                            Claire’s                                                 Festival de Gastronomia de Tiradentes
 bph.14.017 / fashion                                      bph.14.001 / food & drink                                bph.14.002 / food & drink




 Festival de Gastronomia de Tiradentes                     Gibbs Smith                                              Self-promotion
 bph.14.002 / food & drink                                 bph.14.003 / food & drink                                bph.14.003 / food & drink




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